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  16                         UNITED STATES DISTRICT COURT
  17                        CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
  18
  19                                              Case No. 8:22-cv-00868-JVS-ADS
        TREVOR BAUER,                             Assigned for all purposes to the Hon.
  20                        Plaintiff,            James V. Selna
  21                                              NOTICE OF MOTION AND
              v.                                  MOTION BY PLAINTIFF/
  22                                              COUNTERCLAIM DEFENDANT
        LINDSEY C. HILL and NIRANJAN              TREVOR BAUER TO DISMISS
        FRED THIAGARAJAH,                         DEFENDANT/ COUNTERCLAIM
  23
                                                  PLAINTIFF LINDSEY C. HILL’S
  24                        Defendants.           COUNTERCLAIM COMPLAINT
                                                  UNDER FEDERAL RULE 12(b)(6);
  25                                              MEMORANDUM OF POINTS AND
                                                  AUTHORITIES
  26
                                                  Hearing Date: November 21, 2022
  27                                              Hearing Time: 1:30 p.m.
                                                  Department: 10C
  28                                              Action Filed: April 25, 2022

                                                   MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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   1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on November 21, 2022 at 1:30 p.m. or as soon
   3   thereafter as this matter may be heard in Courtroom 10C of the above-entitled court,
   4   located at 411 West Fourth Street, Santa Ana, CA, 92701, Plaintiff/Counterclaim
   5   Defendant Trevor Bauer will and does hereby move this Court to dismiss the
   6   Counterclaim Complaint filed by Lindsey C. Hill.
   7         This Motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) on
   8   the grounds that Ms. Hill’s counterclaims are barred in full under the doctrine of
   9   collateral estoppel. Ms. Hill’s Counterclaim Complaint contains the same allegations
  10   Ms. Hill previously alleged against Mr. Bauer in the case captioned In re Matter of
  11   Hill/Bauer, Case No. 21STRO03198 before the Los Angeles Superior Court. In that
  12   prior proceeding, the Los Angeles Superior Court fully and finally ruled against Ms.
  13   Hill on the issue of whether any Mr. Bauer committed any acts of abuse against her—
  14   the identical issue she seeks to re-litigate here. Ms. Hill—a disappointed litigant—
  15   may not re-litigate this issue in the hope of a different outcome. This is exactly what
  16   collateral estoppel is designed to prevent.
  17         This Motion is made following the conference of counsel pursuant to L.R. 7-
  18   3, which took place on August 18, 23, and 31, 2022.
  19         This Motion is based on the Notice of Motion, the Memorandum of Points and
  20   Authorities, the concurrently-filed Request for Judicial Notice and Declaration of
  21   Blair G. Brown, the pleadings and papers on file with the Court in this matter, all
  22   matters upon which this Court must or may take judicial notice, and upon all
  23   arguments that this Court may allow at the time of the hearing of the Motion.
  24
  25   DATED: September 13, 2022                     ZUCKERMAN SPAEDER LLP
  26                                                 By: /s/ Blair G. Brown
  27                                                 Blair G. Brown
                                                     Attorney for Plaintiff Trevor Bauer
  28
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   1         I.     INTRODUCTION
   2         Defendant/Counterclaim Plaintiff Lindsey C. Hill’s Counterclaim Complaint
   3   seeks to relitigate issues she fully litigated and lost after a trial in which she was
   4   represented by some of the same lawyers who filed the instant Counterclaim. See In
   5   re Matter of Hill/Bauer, Case No. 21STRO03198. In that prior proceeding, the Los
   6   Angeles Superior Court held that Plaintiff/Counterclaim Defendant Trevor Bauer did
   7   not sexually assault or batter Ms. Hill during two sexual encounters between Ms. Hill
   8   and Mr. Bauer that occurred on April 22, 2021 and May 16, 2021. Although Ms. Hill
   9   may not have liked the outcome of that proceeding, as the judge rejected her version
  10   of events, the judgment precludes re-litigation of those issues here.
  11         On June 29, 2021, Ms. Hill filed a petition for a domestic violence restraining
  12   order (the “DVRO Petition”) alleging the same false allegations of sexual assault and
  13   battery based on her two sexual encounters with Mr. Bauer that she now re-alleges
  14   in her Counterclaim Complaint. In August 2021, Judge Dianna Gould-Saltman of the
  15   Los Angeles Superior Court held a four-day hearing to determine whether to grant
  16   Ms. Hill a permanent restraining order (the “DVRO Proceeding”). Under the
  17   California Family Code, a court may grant a permanent restraining order if it finds
  18   “reasonable proof of a past act or acts of abuse.” Cal. Fam. Code § 6300(a). “Abuse”
  19   is defined to include, among other things, “to intentionally or recklessly cause or
  20   attempt to cause bodily injury,” “sexual assault,” and “any behavior that has been or
  21   could be enjoined pursuant to Section 6320” Id. § 6203(a). One of the behaviors listed
  22   in Section 6320 is battery—the exact same cause of action Ms. Hill brings here. Id.
  23   § 6320. Following a four-day hearing that included Ms. Hill’s lengthy testimony
  24   about the two sexual encounters, the court concluded that Mr. Bauer did not batter or
  25   sexually assault Ms. Hill or engage in nonconsensual sex with her. The court found
  26   that Ms. Hill requested and consented to rough sex with Mr. Bauer on April 22, 2021
  27   and May 16, 2021, and that Mr. Bauer respected every boundary set by Ms. Hill. The
  28   court also determined that Ms. Hill’s DVRO Petition was “materially misleading.”
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   1   Although Ms. Hill had a statutory right to appeal that decision, she chose not to do
   2   so.
   3         The DVRO judgment is final and necessarily resolved the same issues raised
   4   by Ms. Hill’s Counterclaim. While filing the Counterclaim may advance Ms. Hill’s
   5   ultimate goal of harming Mr. Bauer and his career in professional baseball—the same
   6   goal Mr. Bauer alleges is her motive for defamation in Mr. Bauer’s Complaint (ECF
   7   No. 1)—, preventing re-litigation of issues that have already been decided is exactly
   8   what the law of collateral estoppel or issue preclusion is designed to do.
   9         II.    ISSUE TO BE DECIDED
  10         Whether Ms. Hill’s Counterclaim Complaint should be dismissed on the basis
  11   of issue preclusion because her allegations about her April 22, 2021 and May 16,
  12   2021 sexual encounters with Mr. Bauer in this lawsuit are identical to those she
  13   asserted in the prior proceeding before the Los Angeles Superior Court, in which the
  14   court found: (i) Mr. Bauer did not commit “an act of abuse,” including battery and
  15   sexual assault, against Ms. Hill; and (ii) that both encounters were consensual.
  16         III.   STATEMENT OF FACTS
  17         At the outset, Mr. Bauer notes that, while he must accept as true all facts in the
  18   Counterclaim Complaint under the Rule 12(b)(6) standard, the Court is not required
  19   to accept as true allegations that contradict matters properly subject to judicial notice.
  20   See Sogbandi v. Markham, 2002 WL 31855299, at *2 (N.D. Cal. Dec. 17, 2002)
  21   (Breyer, J.). The vast majority of the “facts” pleaded in the Counterclaim Complaint
  22   are merely a disappointed litigant’s contentions that have already been rejected on
  23   the merits in a final decision by a Los Angeles Superior Court judge.
  24                A. Ms. Hill Files A Petition In Los Angeles Superior Court For A
                       Domestic Violence Restraining Order Against Mr. Bauer Based
  25
                       On Two Sexual Encounters.
  26         Ms. Hill and Mr. Bauer met on two occasions—April 22, 2021 and May 16,
  27   2021—for the purpose of having sex. Countercl. Compl. ¶¶ 13–22, 23–34. On both
  28
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    1   occasions, Ms. Hill consented to rough sex, which included choking. Id. ¶¶ 52, 56.
    2   On June 29, 2021, Ms. Hill filed the DVRO Petition in Los Angeles Superior Court,
    3   alleging that Mr. Bauer abused her during their two sexual encounters. Brown Decl.
    4   Ex. A (Ms. Hill’s DVRO Petition). In Question 27 of the DVRO Petition, Ms. Hill
    5   was asked to describe how Mr. Bauer abused her. Id. at 5. The DVRO Petition form
    6   specifically explained that “abuse” means “to intentionally or recklessly cause or
    7   attempt to cause bodily injury to you; or to place you or another person in reasonable
    8   fear   of   imminent    serious   bodily       injury;   or   to…assault   (sexually   or
    9   otherwise)…batter…or contact you.” Id. In response to Question 27, Ms. Hill
   10   attached a declaration where she alleged in graphic detail that Mr. Bauer sexually
   11   assaulted and battered her during the two sexual encounters. Id. at 7–15.
   12                B. The Los Angeles Superior Court Denies Ms. Hill’s DVRO
                        Petition On The Grounds That No Acts Of Abuse Occurred And
   13                   Both Of The Sexual Encounters Were Consensual.
   14          In August 2021, Judge Dianna Gould-Saltman of the Los Angeles Superior
   15   Court held a four-day hearing to determine whether Ms. Hill should be granted a
   16   permanent DVRO. See generally, Brown Decl. Ex. B (full transcript of DVRO
   17   Proceeding). In order to grant a permanent DVRO, Judge Gould-Saltman had to find
   18   “reasonable proof of a past act or acts of abuse.” Cal. Fam. Code § 6300. During the
   19   DVRO Proceeding, Ms. Hill took the stand for parts of three days and provided
   20   lengthy testimony about her April 22, 2021 and May 16, 2021 sexual encounters with
   21   Mr. Bauer. Brown Decl. Ex B at Tr. 1–275, 336–362, 368–457. While she was on
   22   the stand, Ms. Hill testified under oath that the April 22, 2021 encounter was entirely
   23   consensual. See Tr. 528:23–24 (Ms. Hill’s counsel’s closing argument stating:
   24   “Without hesitation, Lindsey admitted under oath that the first night was
   25   consensual.”). The court also heard from various fact and expert witnesses called by
   26   both sides. Id. at Tr. 277–336, 463–475, 476–517. Both Mr. Bauer and Ms. Hill were
   27   represented by counsel in the DVRO Proceeding. Id.
   28
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    1         At the conclusion of this four-day proceeding on the merits, Judge Gould-
    2   Saltman made detailed findings on the record. She held that Mr. Bauer did not abuse,
    3   batter, or assault Ms. Hill nor did he engage in nonconsensual sex with her. Id. at Tr.
    4   580:24–587:11. Judge Gould-Saltman further found that Ms. Hill consented to rough
    5   sex and that Mr. Bauer respected the boundaries set by Ms. Hill. Id. The court also
    6   found that Ms. Hill’s motivations were to seek attention for herself and cause harm
    7   to Mr. Bauer. Id. Ultimately, Judge Gould-Saltman’s own words are most instructive:
    8   “[Ms. Hill] was not ambiguous about wanting rough sex in the parties’ first
    9   encounter and wanting rougher sex in the second encounter. [Ms. Hill] was asked
   10   by [Mr. Bauer] to decide whatever she wanted to let [Mr. Bauer] know was off
   11   limits, and she did. If she had set limits and he had exceeded them, this case would
   12   be very clear. But she set limits without fully considering all of the consequences
   13   and [Mr. Bauer] did not exceed the limits that [Ms. Hill] set.” Id. at Tr. 585:22–
   14   586:2 (emphasis added). The judge also characterized Ms. Hill’s DVRO Petition—
   15   which was submitted under oath—as “materially misleading.” Id. at Tr. 586:3–7.
   16         The judge’s decision was accompanied by certain factual findings that directly
   17   bear on Ms. Hill’s instant Counterclaim. For example, the court found that nothing
   18   nonconsensual occurred at any time during Mr. Bauer and Ms. Hill’s two encounters,
   19   including when Ms. Hill alleged to have been unconscious. Id. at Tr. 584:24–585:4.
   20   The court did not find Ms. Hill’s testimony credible nor did it find any evidence that
   21   Mr. Bauer had anal sex with her during the first encounter, while she alleged to have
   22   been unconscious or otherwise. Id. In fact, Ms. Hill herself testified that nothing
   23   nonconsensual occurred during the first encounter. Id. at Tr. 528:23–24. And the
   24   court found that Mr. Bauer proactively discussed and sought to establish boundaries
   25   with Ms. Hill—all of which he honored, including stopping every time Ms. Hill asked
   26   him to stop. Id. at Tr. 584:24–585:4. The court also found that Ms. Hill’s bruising
   27   was simply a potential consequence of the sexual acts to which she sought out and
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    1   consented. Id. at Tr. 584:18–23. Finally, the court found that Mr. Bauer did not pursue
    2   Ms. Hill, nor did he threaten or coerce her into sexual activity. Id. at Tr. 585:5-–8.
    3         Judge Gould-Saltman then denied Ms. Hill’s request for a permanent DVRO
    4   and dissolved the temporary restraining order. Id. at Tr. 587:8–11. Ms. Hill did not
    5   appeal.
    6         Following Judge Gould-Saltman’s decision, the Los Angeles District Attorney
    7   stated publicly that his office would not file criminal charges against Mr. Bauer.
    8   Brown Decl., Ex. C. The District Attorney’s Office stated that “[a]fter a thorough
    9   review of the available evidence, including the civil restraining order proceedings,
   10   witness statements and the physical evidence, the People are unable to prove the
   11   relevant charges beyond a reasonable doubt.” Id.
   12                C. Mr. Bauer Sues Ms. Hill For Defamation Based On Her False
                        Allegations, and Ms. Hill Files An Answer And Counterclaims
   13                   In Response To The Defamation Complaint.
   14         Having been absolved of any wrongdoing by the Los Angeles Superior Court
   15   and with Ms. Hill’s allegations found to be “materially misleading,” Mr. Bauer filed
   16   the instant Complaint against Ms. Hill for defamation based on her intentionally false
   17   and malicious statements to law enforcement accusing Mr. Bauer of serious crimes.
   18   ECF No. 1. On July 19, 2022, Ms. Hill filed an Answer to the Complaint. ECF No.
   19   34. Three weeks later, on August 9, 2022, Ms. Hill filed the Counterclaim Complaint
   20   that is the subject of this Motion to Dismiss. ECF No. 36. She did not file her
   21   Counterclaim Complaint as an amendment to her previously filed Answer pursuant
   22   to Fed. R. Civ. P. 15(a). Id. Nor did Ms. Hill seek leave of court to file the
   23   Counterclaim Complaint as a Supplemental Counterclaim pursuant to Rule 13(e). See
   24   Docket.
   25                D. Ms. Hill’s Counterclaim Complaint Asserts Two Claims For
                        Battery Arising From The Same Two Sexual Encounters That
   26
                        Were Found To Be Consensual By The Los Angeles Superior
   27                   Court.
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    1         Ms. Hill’s Counterclaim Complaint asserts causes of action for sexual battery
    2   and battery, both of which arise from her April 22, 2021 and May 16, 2021 sexual
    3   encounters with Mr. Bauer. Countercl. Compl. ¶¶ 41–49, 50–60. The Counterclaim
    4   Complaint contains substantively the same allegations about the two sexual
    5   encounters as contained in her prior DVRO Petition. Compare Countercl. Compl.
    6   ¶¶ 13–22, 23–34 with Brown Decl. Ex. A at 7–15. For example, the Counterclaim
    7   Complaint alleges that in the first encounter, Mr. Bauer choked Ms. Hill to the point
    8   of unconsciousness and then had nonconsensual anal sex with her. Countercl. Compl.
    9   ¶¶ 2, 13–22. The DVRO Petition also contained this allegation. Brown Decl. Ex. A
   10   at p. 8–9, ¶¶ 8–10. The Counterclaim Complaint alleges that in the second encounter,
   11   Mr. Bauer choked Ms. Hill to the point of unconsciousness and then punched her in
   12   the face, buttocks, and vagina. Countercl. Compl. ¶¶ 3, 23–34. The DVRO Petition
   13   also contained this allegation. Brown Decl. Ex. A at p. 9–11, ¶¶ 13–16.
   14         IV.    LEGAL STANDARDS
   15         Under Rule 12(b)(6), “a complaint must contain sufficient factual matter,
   16   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
   17   Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
   18   570 (2007)). The plausibility standard requires “more than a sheer possibility that a
   19   defendant has acted unlawfully” and is met only when the plaintiff pleads facts that
   20   allow the Court “to draw the reasonable inference that the defendant is liable for the
   21   misconduct alleged.” Id. A defendant may bring a motion to dismiss under Rule
   22   12(b)(6) based on the doctrines of res judicata or collateral estoppel if the court can
   23   take judicial notice of all relevant facts. See Sogbandi, 2002 WL 31855299, at *2;
   24   Mullis v. U.S. Bankr. Ct. for Dist. of Nevada, 828 F.2d 1385, 1388 (9th Cir. 1987)
   25   (“Facts subject to judicial notice may be considered on a motion to dismiss.”).
   26   Importantly, a court is not required to accept as true allegations that contradict matters
   27   properly subject to judicial notice. Sogbandi, 2002 WL 31855299, at *1 (citing
   28   Mullis, 828 F.2d at 1388).
                                                   6
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    1         When ruling on a motion to dismiss, “courts must consider a complaint in its
    2   entirety, as well as other sources courts ordinarily examine . . . in particular,
    3   documents incorporated into the complaint by reference, and matters of which a court
    4   may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
    5   322 (2007). A court may take judicial notice of prior judicial proceedings when
    6   determining whether a complaint should be dismissed on the basis of collateral
    7   estoppel. See Sogbandi, 2002 WL 31855299, at *2; Afr. Firefighters in Benevolent
    8   Ass’n v. Harris-Dawson, 2021 WL 5263853, at *2 (C.D. Cal. Sept. 21, 2021) (stating
    9   “a federal court may take judicial notice of a state court decision and the briefs filed
   10   in that court to determine if an issue was raised and decided by the state court for res
   11   judicata purposes”) (alteration and internal quotations omitted).
   12         V.     ARGUMENT
   13                A. The Court Must Dismiss The Counterclaim Complaint Because
                        The Los Angeles Superior Court Already Found That Mr. Bauer
   14                   Did Not Sexually Assault Or Batter Ms. Hill And That Their
                        Sexual Encounters Were Consensual.
   15
              Ms. Hill’s Counterclaim Complaint fails to state a claim under Rule 12(b)(6).1
   16
        No set of facts can be proven that would constitute a valid claim because her
   17
        counterclaims are barred in full by the doctrine of collateral estoppel.
   18
              Issue preclusion, or collateral estoppel, precludes re-litigation of an issue
   19
        already determined in a previous proceeding between the same parties. Pike v.
   20
   21         1
                 The Counterclaim Complaint is also procedurally deficient under Federal
   22   Rules 13 and 15. Ms. Hill flouted these Rules by filing the Counterclaim Complaint
        out of the blue without styling it as an amended answer or otherwise seeking leave to
   23   file a supplemental counterclaim under Fed. R. Civ. P. 13(e). And if a compulsory
        counterclaim is not asserted in a defendant’s answer, it is waived. Palumbo Design,
   24   LLC v. 1169 Hillcrest, LLC, 2020 WL 5498065, at *4 (C.D. Cal. July 14, 2020). If
        the Court determines that Ms. Hill should have sought leave to file her Counterclaim,
   25   it should deny leave because Ms. Hill cannot show that the Counterclaim “matured
        or was acquired by the party after serving” her Answer, and because the Counterclaim
   26   is barred by issue preclusion and therefore futile. Fed. R. Civ. P. 13(e). Mr. Bauer
        does not move to strike the Counterclaim on this basis at present because the
   27   Counterclaim Complaint should be dismissed with prejudice now under Rule
        12(b)(6), but Mr. Bauer raises this procedural deficiency for preservation purposes
   28   and reserves all rights to move to strike on this basis.
                                                  7
                                                      MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   Hester, 891 F.3d 1131, 1138 (9th Cir. 2018) (holding that findings in prior restraining
    2   order proceeding were preclusive in subsequent case in federal court, applying
    3   Nevada law). Collateral estoppel “has the dual purpose of protecting litigants from
    4   the burden of relitigating an identical issue with the same party or his privy and of
    5   promoting judicial economy by preventing needless litigation.” Salisbury v.
    6   Hickman, 974 F. Supp. 2d 1282, 1288 (E.D. Cal. 2013). Here, Mr. Bauer and Ms.
    7   Hill have already fiercely litigated the very issue in California state court of whether
    8   Mr. Bauer sexually assaulted or battered Ms. Hill in their two sexual encounters. As
    9   such, this Court must estop Ms. Hill—a disappointed litigant in the first proceeding—
   10   from dragging Mr. Bauer into further needless litigation in an improper attempt to re-
   11   litigate the same issue to a different conclusion. Enough is enough.
   12         State judicial proceedings receive the same full faith and credit in every federal
   13   court as they would have in courts of the state in which the matter originated. 28
   14   U.S.C. § 1738. Section 1738 “directs a federal court to refer to the preclusion law of
   15   the State in which the judgment was rendered.” Marrese v. American Academy of
   16   Orthopaedic Surgeons, 470 U.S. 373, 381 (1985) (“§ 1738 requires a federal court to
   17   look first to state preclusion law in determining the preclusive effects of a state court
   18   judgment”). Therefore, this Court must apply California law to determine whether
   19   the prior decision of the Los Angeles Superior Court will preclude Ms. Hill from
   20   relitigating whether any sexual assault or battery occurred during her two encounters
   21   with Mr. Bauer.
   22         Under California law, collateral estoppel precludes re-litigation of an issue
   23   previously adjudicated when the following elements are satisfied. First, the issue
   24   sought to be precluded from re-litigation must be identical to that decided in a former
   25   proceeding. Hernandez v. City of Pomona, 46 Cal. 4th 501, 513 (2009). Second, this
   26   issue must have been actually litigated in the former proceeding. Id. Third, it must
   27   have been necessarily decided in the former proceeding. Id. Fourth, the decision in
   28   the former proceeding must be final and on the merits. Id. Finally, the party against
                                                   8
                                                       MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   whom preclusion is sought must be the same as, or in privity with, the party to the
    2   former proceeding. Id.
    3         Here, the record demonstrates that the issue of whether Mr. Bauer sexually
    4   assaulted or battered Ms. Hill was raised in the former proceeding, submitted for
    5   decision, and actually decided against Ms. Hill.
    6         1. The issue of whether Mr. Bauer sexually assaulted or battered Ms. Hill
                 is identical in both proceedings.
    7
    8         The issue of whether Mr. Bauer sexually assaulted or battered Ms. Hill on
    9   April 22, 2021 and May 16, 2021 is identical in both proceedings for two primary
   10   reasons. First, Ms. Hill raises the identical factual allegations about what occurred
   11   during those two encounters in both proceedings. Second, the legal issue of whether
   12   Ms. Hill can prove by a preponderance of the evidence that what occurred during
   13   those two encounters constituted sexual assault or battery is identical in both
   14   proceedings.
   15                  (a) The factual allegations in both proceedings are identical.
   16         California law is clear that “[t]he ‘identical issue’ requirement addresses
   17   whether ‘identical factual allegations’ are at stake in the two proceedings, not
   18   whether the ultimate issues or dispositions are the same.” Lucido v. Superior Ct., 51
   19   Cal. 3d 335, 342 (1990); see also Hernandez, 46 Cal. 4th at 512 (same). Here, there
   20   can be no dispute that the DVRO Petition and the Counterclaim Complaint contain
   21   identical factual allegations. A side-by-side comparison is helpful:
   22
   23                                 April 22, 2021 Encounter
   24
         DVRO Petition                                Counterclaim Complaint
   25    Ms. Hill alleges that she drove to Mr.       Ms. Hill alleges that she met Mr. Bauer
         Bauer’s home on the evening of April         at his home on the evening of April 21,
   26
         21, 2021. (¶ 5).                             2021. (¶ 14).
   27    Ms. Hill alleges that the two talked for     Ms. Hill alleges that after talking for
         several hours and then began having          several hours, during the early morning
   28
                                                  9
                                                       MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1    consensual sex early in the morning on    of April 22, 2021, the two began having
    2    April 22, 2021. (¶¶ 5–6)                  vaginal sex. (¶ 15)
         Ms. Hill alleges that Mr. Bauer wrapped   Ms. Hill alleges that Mr. Bauer flipped
    3    Ms. Hill’s hair around her neck and       her onto her stomach, wrapped her hair
    4    choked her until she became               around her neck, and used her hair to
         unconscious. (¶ 8)                        choke her unconscious. (¶ 16)
    5    Ms. Hill alleges that she woke up face    Ms. Hill alleges that when she regained
    6    down on the bed, disoriented, and         consciousness, to her shock, she realized
         realized Mr. Bauer was having sex with    that Mr. Bauer was having anal sex with
    7    her in her anus. (¶ 9)                    her. (¶ 18)
    8    Ms. Hill alleges that as soon as she was  Ms. Hill alleges that after regaining
         able, she said “Can we stop” and he       consciousness, she asked Mr. Bauer to
    9    immediately did. (¶ 9)                    stop having anal sex with her. Mr. Bauer
   10                                              stopped. (¶ 20)
         Ms. Hill alleges that she went to use the Ms. Hill alleges that after Mr. Bauer
   11
         bathroom and noticed she was bleeding stopped having anal sex with her, she
   12    from her anus. (¶ 10)                     walked to the bathroom. While in the
                                                   bathroom, she discovered she was
   13
                                                   bleeding from anus. (¶ 22)
   14
                                     May 16, 2021 Encounter
   15
   16    DVRO Petition                               Counterclaim Complaint
   17    Ms. Hill alleges that she arrived at Mr.    Ms. Hill alleges that she arrived at Mr.
         Bauer’s house around midnight on May        Bauer’s house around midnight on May
   18    16, 2021. (¶ 13)                            16, 2021. (¶ 24)
   19    Ms. Hill alleges that the two started       Ms. Hill alleges that later in the morning
         having sex around 2 a.m. (¶ 13)             of May 16, the two began having vaginal
   20                                                sex. (¶ 25)
   21    Ms. Hill alleges that Mr. Bauer wrapped     Ms. Hill alleges that Mr. Bauer flipped
         her hair around her neck and choked her     her onto her stomach, wrapped her hair
   22    until she lost consciousness. (¶ 14)        around her neck, and used her hair to
   23                                                choke her to the point that she could not
                                                     breathe and became unconscious. (¶ 26)
   24    Ms. Hill alleges that as she was            Ms. Hill alleges that when she began
   25    regaining consciousness, Mr. Bauer          regaining consciousness, Mr. Bauer
         began punching her face. (¶ 14)             began to forcefully and repeatedly
   26                                                punch her in the face. (¶ 28)
   27
   28
                                                10
                                                      MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1    Ms. Hill alleges that Mr. Bauer flipped Ms. Hill alleges that Mr. Bauer flipped
    2    her back on her stomach and began her onto her stomach and again used her
         choking her with her hair. (¶ 15)       hair to choke her unconscious for a
    3                                            second time. (¶ 29)
    4    Ms. Hill alleges that when she regained Ms. Hill alleges that while she was
         consciousness, Mr. Bauer opened her trying to regain consciousness, Mr.
    5    legs and began punching her in the Bauer spread her knees to expose her
    6    vagina. (¶ 16)                          vagina, and then began using a closed
                                                 fist to punch her vagina and groin area.
    7                                            (¶ 31)
    8
        As demonstrated above, it is beyond dispute that Ms. Hill’s Counterclaim Complaint
    9
        simply regurgitates the identical factual allegations from the DVRO Petition in
   10
        blatant pursuit of a second bite at the apple.
   11
                     (b) The legal issues, including the standard of proof, in both
   12                    proceedings are identical.
   13         In the DVRO Proceeding, the core question was whether Ms. Hill should be
   14   granted a DVRO, which would statutorily require a finding of “reasonable proof of
   15   a past act or acts of abuse.” Cal. Fam. Code § 6300(a). Ms. Hill’s DVRO Petition
   16   alleged that her April 22, 2021 and May 16, 2021 sexual encounters with Mr. Bauer
   17   constituted “acts of abuse” under the statute. See Brown Decl. Ex. A at p. 5, 7–15
   18   (Ms. Hill’s response to Question 27). Mr. Bauer, for his part, argued that Ms. Hill
   19   could not meet the showing of “reasonable proof” because he did not abuse Ms. Hill
   20   and both encounters were consensual.
   21         In the DVRO Proceeding, “reasonable proof” required a preponderance of the
   22   evidence, just as in a civil suit. Gdowski v. Gdowski, 175 Cal. App. 4th 128, 137, 95
   23   Cal. Rptr. 3d 799, 805 (2009) (“issuance of a protective order under the DVPA”
   24   requires “a preponderance of the evidence”); Croteau v. Croteau, 2015 WL 2448273,
   25   at *2 (Cal. Ct. App. May 21, 2015) (court can “issue the requested restraining order
   26   if the applicant shows the requisite abuse by a preponderance of the evidence”). As
   27   the standard of proof is the same in both proceedings, the fact that Ms. Hill could not
   28
                                                  11
                                                         MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   prove her allegations under the preponderance of the evidence standard in the DVRO
    2   Proceeding is outcome dispositive in this lawsuit. Indeed, the Los Angeles District
    3   Attorney recognized this point when declining to prosecute because if the allegations
    4   could not be proven under a preponderance of the evidence standard, they certainly
    5   could not be proven beyond a reasonable doubt. Brown Decl., Ex. C.
    6         For purposes of the DVRO Proceeding, “abuse” was defined as “(1) To
    7   intentionally or recklessly cause or attempt to cause bodily injury,” “(2) Sexual
    8   assault,” “(3) To place a person in reasonable apprehension of imminent serious
    9   bodily injury to that person or to another,” or “(4) To engage in any behavior that has
   10   been or could be enjoined pursuant to Section 6320,” which lists a range of other
   11   conduct, including battery. Cal. Fam. Code § 6203(a) (citing Cal. Fam. Code
   12   § 6320). Under this statutory regime, by denying Ms. Hill’s DVRO Petition, the Los
   13   Angeles Superior Court must have found that she failed to show by a preponderance
   14   of the evidence that Mr. Bauer committed any acts of abuse in the parties’ two
   15   encounters, which statutorily includes battery and sexual assault.
   16         Moreover, in determining whether a sexual assault or battery occurred, the
   17   state court also had to address the issue of whether Ms. Hill consented to the sexual
   18   activities that took place between her and Mr. Bauer. Under California law, one “who
   19   consents to an act is not wronged by it.” Cal. Civ. Code § 3515. Consistent with this
   20   principle, courts have found no sexual battery where “the relationship was
   21   consensual.” Jacqueline R. v. Household of Faith Fam. Church, Inc., 97 Cal. App.
   22   4th 198, 208 (2002); 5 Witkin, Summary of Cal. Law, 11th Torts § 457 (2022) (“A
   23   person may, by participating in a game or by other conduct, consent to an act that
   24   might otherwise constitute a battery.”). In denying Ms. Hill’s DVRO Petition, the
   25   state court considered the evidence and found that the two encounters were entirely
   26   consensual. See Brown Decl. Ex. B at Tr. 583:9–586:2.
   27         In the instant case, Ms. Hill asserts claims for battery and sexual battery based
   28   on the same two encounters between her and Mr. Bauer that were the subject of the
                                                 12
                                                      MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   DVRO Proceeding. See supra § V.A.1 (comparing allegations in both proceedings
    2   side-by-side). Under California law, “[t]he elements of civil battery are: (1) defendant
    3   intentionally performed an act that resulted in a harmful or offensive contact with
    4   plaintiff’s person; (2) plaintiff did not consent to the contact; and (3) the harmful or
    5   offensive contact caused injury, damage, loss or harm to plaintiff.” Pallamary v. Elite
    6   Show Servs., Inc., 2018 WL 3064933, at *13 (S.D. Cal. June 19, 2018). But under
    7   the definition of “acts of abuse” under the California Family Code, the state court
    8   already considered whether Mr. Bauer “intentionally or recklessly cause[d] or
    9   attempt[ed] to cause bodily injury.” Cal. Fam. Code § 6203(a). The state court found
   10   that he did not. The state court also considered whether Ms. Hill consented to
   11   everything that occurred between her and Mr. Bauer. See Brown Decl. Ex. B at Tr.
   12   583:9–586:2. The state court found that she did. Thus, under no set of facts can Ms.
   13   Hill prevail on her civil battery counterclaim as the state court judge already found
   14   in favor of Mr. Bauer on at least two elements of this cause of action.
   15         As for Ms. Hill’s second counterclaim for sexual battery, this is defined as: (1)
   16   an “act[] with the intent to cause a harmful or offensive contact with an intimate part
   17   of another, and a sexually offensive contact with that person directly or indirectly
   18   results;” or (2) an “act[] with the intent to cause a harmful or offensive contact with
   19   another by use of his or her intimate part, and a sexually offensive contact with that
   20   person directly or indirectly results;” or (3) an “act[] to cause an imminent
   21   apprehension of the conduct described in paragraph (1) or (2), and a sexually
   22   offensive contact with that person directly or indirectly results.” Cal. Civ. Code
   23   § 1708.5(a). California law further makes clear that the sexual battery statute “is
   24   interpreted to require that the batteree did not consent to the contact.” Angie M. v.
   25   Superior Ct., 37 Cal. App. 4th 1217, 1225 (1995). Ms. Hill cannot meet any of these
   26   elements. She cannot show that Mr. Bauer intended to cause harmful or offensive
   27   contact with any part of her body because the state court already resolved that he did
   28   not. Cal. Fam. Code § 6203(a). In finding that no “act of abuse” occurred, the state
                                                  13
                                                       MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   court also necessarily found that Mr. Bauer did not place Ms. Hill “in reasonable
    2   apprehension of imminent serious bodily injury.” Id. Finally, as the state court found
    3   that Ms. Hill consented to everything that occurred during the two sexual encounters,
    4   Ms. Hill cannot show that she did not consent. See Brown Decl. Ex. B at Tr. 583:9–
    5   586:2. At bottom, there is no set of facts under which Ms. Hill could prevail on her
    6   counterclaim for sexual battery, as the state court already found in favor of Mr. Bauer
    7   on every element of California’s sexual battery statute.
    8         As if this were not enough, the California Family Code defines an “act of
    9   abuse” to include both “sexual assault” and “battery.” Cal. Fam. Code § 6203(a)
   10   (incorporating conduct listed in § 6320, which includes battery). Indeed, Ms. Hill
   11   knew this when she filed her DVRO Petition because Question 27 of the DVRO
   12   Petition lists “assault (sexually or otherwise)” and “battery” as examples of acts of
   13   abuse under the statute. See Brown Decl. Ex. A at p. 5. She had every opportunity to
   14   litigate whether a sexual assault or battery occurred—and she did litigate this issue.
   15   See infra § V.A.2. As “act of abuse,” “sexual assault,” and “battery” are one in the
   16   same under California Family Code § 6203(a), the issue in the DVRO Proceeding of
   17   whether any “act of abuse” occurred resolved the issue of whether any sexual assault
   18   or battery occurred. This forecloses any possibility that Ms. Hill could prevail on
   19   either of her claims in this lawsuit without running afoul of the state court’s prior
   20   ruling and its preclusive effect. See Clemmer v. Hartford Insurance Co., 22 Cal.3d
   21   865, 875 (1978) (one of the purposes of collateral estoppel is “to prevent inconsistent
   22   judgments which undermine the integrity of the judicial system.”).
   23         2. The issue of whether Mr. Bauer sexually assaulted or battered Ms. Hill
                 was actually litigated in the DVRO Proceeding.
   24
              “An issue is actually litigated when it is properly raised, by the pleadings or
   25
        otherwise, and is submitted for determination, and is determined.” Ayala v. Dawson,
   26
        13 Cal. App. 5th 1319, 1330 (2017) (citations and quotations omitted) (holding that
   27
        issue was actually litigated where plaintiff raised an issue in the pleadings that was
   28
                                                 14
                                                      MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   the central focus of an evidentiary contest at a hearing where the issue was ultimately
    2   decided against plaintiff).
    3         Here, the DVRO Proceeding was vigorously litigated by both sides. First off,
    4   Ms. Hill filed the detailed DVRO Petition in which she put the issue of whether she
    5   was sexually assaulted or battered by Mr. Bauer in central focus. See Brown Decl.
    6   Ex. A. Second, before and throughout the DVRO Proceeding, Ms. Hill and Mr. Bauer
    7   were represented by sophisticated counsel from established law firms who, according
    8   to the state court judge, “present[ed] the best case on both sides.” See Brown Decl.
    9   Ex. B at Tr. 580:24-27. Third, before the testimony began, the parties engaged in
   10   discovery and motion practice by and through their respective counsel.2 Fourth, the
   11   DVRO Proceeding itself consisted of a four-day hearing, during which both Ms. Hill
   12   and Mr. Bauer called multiple fact and expert witnesses, and both had the opportunity
   13   to be heard. Indeed, Ms. Hill was on the stand for parts of three days. Ms. Hill’s
   14   testimony concerned the same two encounters with Mr. Bauer that she complains
   15   about in the instant case. Compare Brown Decl. Ex. B at Tr. 1–275, 336–362, 368–
   16   457 with Counterclaim Compl. ¶¶ 13–22, 23–34. She testified in detail about what
   17   occurred between her and Mr. Bauer in those encounters, and whether she consented
   18   to the sexual acts that the two engaged in. Brown Decl. Ex. B at Tr. 1–275, 336–362,
   19   368–457. Notably, she testified “without hesitation” that the entirety of the April 22,
   20   2021 encounter was consensual—a sentiment echoed by her counsel in closing
   21   arguments. Id. at 528:23–24.3 Mr. Bauer (whom the District Attorney had not yet
   22
   23         2
                 While the parties had every opportunity to engage in discovery, it has come
        to light that Ms. Hill improperly withheld evidence in the DVRO Proceeding, see
   24   Compl. ¶¶ 132–43 (alleging that Ms. Hill and her counsel buried evidence), that
        further exonerates Mr. Bauer. The Pasadena Police Department recently produced a
   25   videotape that Ms. Hill took of herself shortly after the May 16, 2021 encounter
        where she appears to be willingly in bed with a sleeping Mr. Bauer, and is smirking
   26   and uninjured. See Brown Decl., Ex. D.
               3
   27            This is an admission by a party opponent that on its own forecloses Ms. Hill’s
        allegations in the Counterclaim Complaint that Mr. Bauer’s conduct in the April 22,
   28   2021 encounter constitutes battery. See Fed. R. Evid. 801(d)(2).
                                                 15
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    1   cleared of criminal charges at the time) chose not to take the stand. Ultimately, even
    2   without Mr. Bauer’s testimony, the judge’s on-the-record findings were a resounding
    3   rejection of Ms. Hill’s version of events—the same version of events she re-alleges
    4   here. Id. 580:24–587:11. This fulsome DVRO Proceeding is memorialized in an
    5   almost 600-page transcript and over twenty exhibits. See Ayala, 13 Cal. App. 5th at
    6   1330–31 (issue was actually litigated where extensive record consisted of 243-page
    7   transcript with the judge’s on-the-record findings, as well as 21 documentary
    8   exhibits).
    9         California courts have routinely held that restraining order proceedings that
   10   were actually litigated have preclusive effects in subsequent civil cases. In Salisbury
   11   v. Hickman, a California federal judge found that where the plaintiff had previously
   12   obtained a civil harassment restraining order against her property manager in a one-
   13   day hearing, the defendant-property manager was precluded from relitigating the
   14   issue in federal court of whether he harassed the plaintiff. See Salisbury, 974 F. Supp.
   15   2d at 1289–90. In Van Oss v. Van Oss, the California Court of Appeals upheld a trial
   16   court’s order that issues decided in a domestic violence proceeding precluded the
   17   respondent’s subsequent malicious prosecution suit. 2005 WL 240847, at *1 (Cal.
   18   Ct. App. Jan. 21, 2005). There, the court of appeals held that “[t]he record
   19   demonstrates . . . that the question of whether Greggory pushed Kimberly was
   20   actually litigated and necessarily decided in the domestic violence proceeding.” Id. at
   21   *3. Critical to the Van Oss court’s decision was that “the parties submitted conflicting
   22   evidence regarding Greggory’s conduct on August 27” and the judge considered the
   23   evidence and then made factual findings based on the contested litigation. Id. Just as
   24   in the Salisbury and Van Oss restraining order proceedings, it is clear from the almost
   25   600-page record of the DVRO Proceeding, in which both sides submitted conflicting
   26   evidence about what occurred on April 22, 2021 and May 16, 2021, that the question
   27   of whether Mr. Bauer abused Ms. Hill was actually litigated in the DVRO Proceeding
   28   and cannot be re-litigated in a civil case in federal court.
                                                  16
                                                       MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1         3. The issue of whether Mr. Bauer sexually assaulted or battered Ms. Hill
    2            was necessarily decided in the DVRO Proceeding.

    3         Statutorily, when determining whether to grant a DVRO, a California court

    4   must decide whether there is “reasonable proof of a past act or acts of abuse.” Cal.

    5   Fam. Code § 6300(a). Here, the state court did just that. The court received

    6   voluminous evidence and testimony regarding what occurred during the two sexual

    7   encounters between Ms. Hill and Mr. Bauer, and then made a legal determination as

    8   to whether that evidence constituted reasonable proof of any abuse. The court

    9   determined that it did not. Cf. Salisbury, 974 F. Supp. 2d at 1289 (even where court

   10   made no specific factual findings in restraining order proceeding, certain issues were

   11   necessarily decided because they were “issues that the court had to resolve,

   12   statutorily, in order to grant Ms. Salisbury a restraining order pursuant to California

   13   Code of Civil Procedure section 527.6”). Ms. Hill’s own counsel in the DVRO

   14   Proceeding recognized that the state court must necessarily decide this issue,

   15   beginning her closing argument by stating that her job was to “persuade the trier of

   16   fact by a preponderance of the evidence that abuse as defined in the D.V.P.A. was

   17   committed.” See Brown Decl. Ex. B at Tr. 524:24–26.

   18         Here, not only was Judge Gould-Saltman statutorily required to decide

   19   whether an act of abuse (which includes sexual assault and battery) occurred, her

   20   actual decision made clear that she indeed made this determination. Judge Gould-

   21   Saltman’s words speak for themselves. At the conclusion of the four-day hearing, she

   22   made detailed on-the-record findings, first by explaining that: “The primary question

   23   for this court is, to what did [Ms. Hill] consent? And how did she manifest that

   24   consent to [Mr. Bauer]?” Id. at Tr. 584:4–6. Judge Gould-Saltman then recited the

   25   record of testimony and evidence she received that bore on those questions,

   26   including:

   27
   28
                                                 17
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    1              “In written exchange [Ms. Hill] said that ‘she wanted all the pain.’ Those
    2               were her words. Should [Mr. Bauer] have believed her?” Id. at Tr.
                    584:7–9.
    3
                   “In written communication [Ms. Hill] said she wanted to be choked out.
    4               [Mr. Bauer] sought clarification as to whether she meant ‘out,’ as in
    5               unconscious, and [Ms. Hill] replied in the affirmative. Should [Mr.
                    Bauer] have believed her?” Id. at Tr. 584:10–14.
    6
                   “We consider that, in the context of a sexual encounter, when a woman
    7               says ‘No,’ she should be believed. So what about when she says ‘Yes?’”
    8               Id. at Tr. 584:15–17.

    9              “[Ms. Hill] testified that she did not consent to being punched to the
                    point of having black eyes and having to be hospitalized. Having black
   10               eyes and being hospitalized were the potential consequences of the
   11               activities, including some of which [Ms. Hill] acknowledged that she
                    did consent to, such as being choked.” Id. at Tr. 584:18–23.
   12
                   “The only evidence of anything which happened while [Ms. Hill] was
   13               unconscious was having been hit on the butt in the parties’ first
   14               encounter. Other acts occurred while [Ms. Hill] was conscious. She
                    testified that she wasn’t able to speak part of that time but [Mr. Bauer]
   15               couldn’t know that. On at least one occasion, when [Mr. Bauer] was
   16               doing something [Ms. Hill] didn’t want and she couldn’t speak, she
                    motioned to him and he did stop. On another, she used the first part of
   17               their agreed safe word and he did stop.” Id. at Tr. 584:24–585:4.4
   18              “[Mr. Bauer] did not pursue [Ms. Hill]. He did not threaten or coerce
   19               her into sexual activity. And he didn’t threaten her after they had
                    engaged in sexual activity.” Id. at Tr. 585:5–8.
   20
                   “[Ms. Hill] complains in her testimony that one of her problems has
   21               been her desire to seek attention. Communications to her friends, which
   22               are entered into evidence, indicate she was excited for the attention to

   23
   24         4
                This is a particularly important factual finding. In Ms. Hill’s Counterclaim,
   25   she alleges that Mr. Bauer anally penetrated her without her consent when she was
        unconscious. Compl. ¶¶ 2, 18–19, 42–44, 51–52. That allegation forms the basis of
   26   much of her Counterclaim. But the state court judge already considered the evidence,
        including Ms. Hill’s lengthy testimony, about what occurred while she was allegedly
   27   unconscious, and rejected these very allegations about anal sex that Ms. Hill now
        reasserts in her Counterclaim, not to mention Ms. Hill herself already testified in the
   28   DVRO Proceeding that the entire April 22, 2021 encounter was consensual.
                                                 18
                                                      MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1                 her and, eventually, the damage that attention would have on [Mr.
    2                 Bauer].” Id. at Tr. 585:9–14.

    3   Based on these clear findings of fact, the judge concluded that:
    4               “Let me be clear. The injuries as shown in the photographs are terrible.
                     Under most circumstances, merely seeing photographs such as those
    5
                     would serve as a per se condemnation of the perpetrator of such injuries.
    6                But [Ms. Hill] had and has the right to engage in any kind of sex as a
    7                consenting adult that she wants to with another consenting adult.” Id.
                     at Tr. 585:15–21 (emphasis added).
    8
                    “She was not ambiguous about wanting rough sex in the parties’ first
    9                encounter and wanting rougher sex in the second encounter. [Ms.
                     Hill] was asked by [Mr. Bauer] to decide whatever she wanted to let
   10
                     [Mr. Bauer] know was off limits, and she did.” Id. at Tr. 585:22–26
   11                (emphasis added).
   12               “If she had set limits and he had exceeded them, this case would be
                     very clear. But she set limits without fully considering all of the
   13
                     consequences and [Mr. Bauer] did not exceed the limits that [Ms. Hill]
   14                set.” Id. at Tr. 585:27–586:2 (emphasis added).
   15   The judge then denied Ms. Hill’s request for a long term DVRO and dissolved the
   16   temporary restraining order. Id. at Tr. 587:8–11. Given the detailed nature of Judge
   17   Gould-Saltman’s ruling (not to mention the statutory requirements), it is beyond
   18   dispute that the issue of whether a sexual assault or battery occurred in the two
   19   encounters between Ms. Hill and Mr. Bauer was a critical and necessary part of her
   20   decision to deny Ms. Hill’s DVRO Petition. Robinson v. Brown, 2014 WL 1779460,
   21   at *10 (E.D. Cal. May 5, 2014) (requirement that issue must be necessarily decided
   22   in first proceeding is met when “the judgment depends on a given determination and
   23   when ‘the final outcome hinges on it’”) (citing Bobby v. Bies, 556 U.S. 825, 834–45
   24   (2009)).
   25         4. The decision in the DVRO Proceeding was final and on the merits.
   26         There can be no dispute that the finality requirement is met. The DVRO
   27   Proceeding was a full four-day hearing where Mr. Bauer and Ms. Hill were
   28
                                                 19
                                                      MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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    1   represented by counsel. Salisbury, 974 F. Supp. 2d at 1289 (finality requirement met
    2   where restraining order at issue was product of a one-day hearing and both parties
    3   were represented by counsel). “That the parties were fully heard, that the court
    4   supported its decision with a reasoned opinion, that the decision was subject to appeal
    5   or was in fact reviewed on appeal, are factors supporting the conclusion that the
    6   decision is final for the purpose of preclusion.” Restatement (Second) of Judgments
    7   § 13 cmt. g (1982). All of those factors are present in this case. The state court held
    8   a hearing, reached the merits of Ms. Hill’s petition, and issued an order denying her
    9   petition for a DVRO and explaining its decision. Ms. Hill had a statutory right to
   10   appeal the court’s decision, although she did not do so. As a result, the state court’s
   11   order is clearly final for issue preclusion purposes. Salisbury, 974 F. Supp. 2d at 1289
   12   (“That decision has not been appealed and is therefore final.”).
   13         5. The parties are the same in both proceedings.
   14         As with the finality requirement, there can be no dispute that the parties—Ms.
   15   Hill and Mr. Bauer—are the same in both proceedings.
   16         VI.    CONCLUSION
   17         In the prior proceeding captioned In re Matter of Hill/Bauer, Case No.
   18   21STRO03198, the Los Angeles Superior Court found by a preponderance of the
   19   evidence—the same standard of proof as in this civil lawsuit—that Mr. Bauer did not
   20   commit any sexual assault or battery against Ms. Hill on April 22, 2021 or on May
   21   16, 2021. Thus, Ms. Hill is precluded from seeking civil tort damages in this lawsuit
   22   based on alleged battery and sexual battery that the Los Angeles Superior Court ruled
   23   fully and finally never occurred. The Court should dismiss with prejudice Ms. Hill’s
   24   Counterclaim Complaint in its entirety.
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                                                  20
                                                       MOT. TO DISMISS COUNTERCLAIM COMPLAINT
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